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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

  In re:                                          §    Case No. 15-30944
                                                  §
  DIGITAL LEGAL SERVICES - TX,                    §
  LLC                                             §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Allison D. Byman, Chapter 7 Trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the Trustee’s control in this case
have been properly accounted for as provided by law. The Trustee hereby requests to be
discharged from further duties as a Trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $50,485.00              Assets Exempt:       $0.00
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $190,162.74         Without Payment:     $0.00

Total Expenses of
Administration:                   $78,492.30


        3)      Total gross receipts of $268,655.04 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $268,655.04 from the
liquidation of the property of the estate, which was distributed as follows:

                                    CLAIMS         CLAIMS           CLAIMS           CLAIMS
                                  SCHEDULED       ASSERTED         ALLOWED            PAID
  Secured Claims
  (from Exhibit 3)                  $326,772.03       $5,072.49        $5,072.49     $166,839.09
  Priority Claims:
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     Chapter 7 Admin.
     Fees and Charges                          NA      $78,492.30          $78,492.30        $78,492.30
      (from Exhibit 4)
     Prior Chapter Admin.
     Fees and Charges                          NA              $0.00            $0.00              $0.00
     (from Exhibit 5)
     Priority Unsecured
     Claims                          $138,209.25      $116,574.71          $22,509.93        $22,509.93
     (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)            $323,212.72      $442,474.57        $260,332.45            $942.23

    Total Disbursements              $788,194.00      $642,614.07        $366,407.17        $268,783.55

        4). This case was originally filed under Chapter 7 on 02/18/2015. The case was pending
  for 39 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 05/09/2018                              By:     /s/ Allison D. Byman
                                                        /All   Allison D. Byman, Trustee
                                                        ison   SBN 24040773
                                                        D.     Total Plaza
                                                        By     1201 Louisiana, 28th Floor
                                                               Houston, Texas 77002
                                                        ma
                                                               (713) 759-0818 Telephone
                                                        n      (713) 759-6834 Facsimile
                                                               adb@hwa.com
  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                        UNIFORM                         AMOUNT
                                                                          TRAN. CODE                      RECEIVED
Account Receivables - $531,174.56 per Ledger ($272,833.61                  1121-000                       $162,153.50
deemed uncollectible)
Checking Account (Amegy Bank ending in 5268)                               1129-000                        $30,169.40
Machinery, fixtures, equipment                                             1129-000                        $17,775.00
Compromise; Digital Legal Medical Records, LLC                             1149-000                        $30,000.00
Refund for 2014 Personal Property Taxes                                    1229-000                         $1,406.59
Refund; Aflac                                                              1229-000                          $176.04
Refund; Overpayment in Texas unemployment dated 5/20/15                    1229-000                         $2,312.19
Refund; United States Treasury (941 Taxes)                                 1229-000                         $3,898.86
Repayment; Destruction of client records (see Judgment at                  1229-000                         $2,527.50
05/11/15; #25)
Repayment; Texas Unemployment tax dated 2/2/16                             1229-000                           $35.96
Compromise; American Express, Chase Bank and kCura, LLC                    1241-000                         $5,000.00
Compromise; American Express, Chase Bank and kCura, LLC                    1241-000                         $5,700.00
Compromise; American Express; Chase Bank and kCura, LLC                    1241-000                         $5,000.00
Compromise; Mercury Information Systems, LLC                               1241-000                         $2,500.00
TOTAL GROSS RECEIPTS                                                                                      $268,655.04

 The Uniform Transaction Code is an accounting code assigned by the Trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM                CLAIMS              CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE           SCHEDULED            ASSERTED ALLOWED                  PAID
     1        Harris County et       4210-000                 $1,772.03       $5,072.49       $5,072.49     $5,482.36
              al
     2        Manufacturers &        4110-000                     $0.00           $0.00           $0.00   $161,356.73
              Traders Trust
              Company dba
              M&T Bank
              M&T Bank               4110-000               $325,000.00           $0.00           $0.00           $0.00
TOTAL SECURED CLAIMS                                        $326,772.03       $5,072.49       $5,072.49   $166,839.09


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

         PAYEE             UNIFORM                  CLAIMS   CLAIMS                     CLAIMS              CLAIMS
                          TRAN. CODE             SCHEDULED ASSERTED                   ALLOWED                 PAID
Allison D. Byman,            2100-000                          NA    $16,682.75           $16,682.75       $16,682.75

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Trustee
Allison D. Byman,             2200-000              NA         $862.88            $862.88         $862.88
Trustee
International Sureties,       2300-000              NA          $69.52             $69.52          $69.52
Ltd.
Green Bank                    2600-000              NA     $3,482.94             $3,482.94       $3,482.94
Iron Mountain                 2990-000              NA     $1,027.50             $1,027.50       $1,027.50
Attorney for Trustee          3210-000              NA    $34,530.00           $34,530.00       $34,530.00
Fees, Attorney for
Trustee
Attorney for Trustee          3220-000              NA     $2,141.83             $2,141.83       $2,141.83
Expenses, Attorney
for Trustee
Accountant for                3410-000              NA    $15,430.50           $15,430.50       $15,430.50
Trustee Fees,
Accountant for
Trustee
Accountant for                3420-000              NA         $198.13            $198.13         $198.13
Trustee Expenses,
Accountant for
Trustee
Auctioneer for Trustee        3610-000              NA     $1,400.00             $1,400.00       $1,400.00
Expenses, Auctioneer
for Trustee
Auctioneer for Trustee        3610-000              NA     $2,666.25             $2,666.25       $2,666.25
Fees, Auctioneer for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                     NA    $78,492.30           $78,492.30       $78,492.30
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM           CLAIMANT           UNIFORM        CLAIMS         CLAIMS   CLAIMS                CLAIMS
NUMBER                             TRAN. CODE   SCHEDULED       ASSERTED ALLOWED                   PAID
     3a       Internal Revenue       5800-000      $5,720.18       $5,720.18        $5,720.18    $5,720.18
              Service
     5        Keedra Oscar           5300-000      $2,596.16       $2,596.16        $2,596.16    $1,670.64
     6        Earl Lair III          5300-000      $2,163.47       $2,163.47        $2,163.47    $1,392.19
     22       Samuel Sierra          5300-000     $94,064.78      $94,064.78            $0.00        $0.00
     23       Comptroller of         5800-000      $4,806.95       $4,806.95        $4,806.95    $4,806.95
              Public Accounts
     24       Comptroller of         5800-000      $6,573.48       $6,573.48        $6,573.48    $6,573.48
              Public Accounts
              Texas Workforce        5800-000          $0.00        $128.51           $128.51     $128.51
              Commission
              INTERNAL               5300-000          $0.00             $0.00          $0.00    $1,332.69

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              REVENUE
              SERVICE
              Federal
              Withholding
              (Employee)
              INTERNAL           5300-000         $0.00         $0.00        $0.00      $69.01
              REVENUE
              SERVICE
              Medicare
              (Employee)
              INTERNAL           5300-000         $0.00         $0.00        $0.00     $295.10
              REVENUE
              SERVICE Social
              Security
              (Employee)
              Abdollah           5800-000         $0.00         $0.00        $0.00        $0.00
              Shabankareh
              Allen Davis        5800-000         $0.00         $0.00        $0.00        $0.00
              Becky McKnight     5800-000         $0.00         $0.00        $0.00        $0.00
              Debbie Rutledge    5800-000         $0.00         $0.00        $0.00        $0.00
              Internal Revenue   5800-000         $0.00         $0.00        $0.00        $0.00
              Service
              INTERNAL           5800-000         $0.00       $28.56       $28.56       $28.56
              REVENUE
              SERVICE
              Federal
              Unemployment
              (Employer)
              INTERNAL           5800-000         $0.00       $69.01       $69.01       $69.01
              REVENUE
              SERVICE
              Medicare
              (Employer)
              INTERNAL           5800-000         $0.00      $295.10      $295.10      $295.10
              REVENUE
              SERVICE Social
              Security
              (Employer)
              TEXAS              5800-000         $0.00      $128.51      $128.51      $128.51
              EMPLOYMENT
              COMMISSION
              State
              Unemployment
              (Employer)
              Texas State        5800-000    $19,875.41         $0.00        $0.00        $0.00
              Comptroller
              Texas Workforce    5800-000      $190.84          $0.00        $0.00        $0.00
              Commission
              William Kunetka    5800-000         $0.00         $0.00        $0.00        $0.00
TOTAL PRIORITY UNSECURED CLAIMS             $135,991.27   $116,574.71   $22,509.93   $22,509.93


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

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 CLAIM          CLAIMANT            UNIFORM        CLAIMS        CLAIMS   CLAIMS          CLAIMS
NUMBER                             TRAN. CODE   SCHEDULED      ASSERTED ALLOWED             PAID
     3b       Internal Revenue      7100-000       $2,245.11     $2,245.11    $2,245.11      $8.14
              Service
     4        Pitney Bowes Inc      7100-000       $2,099.47     $2,712.05    $2,712.05      $9.82
     7        Integrity Legal       7100-000      $14,901.58    $14,901.58   $14,901.58     $53.93
              Corp of LB
     8        DS                    7100-000        $713.65       $713.65      $713.65       $2.58
              Services/Sparkett
              s Div
     9        Integrity Legal       7100-000       $2,959.17     $2,959.17    $2,959.17     $10.71
              Corp. OC
     10       A&A Graphics          7100-000        $609.89       $554.73      $554.73       $2.01
              Inc.
     11       A+A Graphics          7100-000        $332.22       $332.22      $332.22       $1.20
              Supply
              Corporation
     12       Integrity Legal       7100-000       $2,694.12     $2,694.12    $2,694.12      $9.75
              Corp. of San
              Fernando Valley
     13       Canon Financial       7100-000       $5,808.67    $35,590.26   $35,590.26    $128.81
              Services Inc
     14       Advanced              7100-000      $56,763.92    $66,948.76   $66,948.76    $242.31
              Discovery Inc
     15       Michael A.            7100-000       $5,230.00     $5,230.00    $5,230.00     $18.93
              Bonventure
     16       GreatAmerica          7100-000       $8,876.58    $11,135.66   $11,135.66     $40.30
              Financial Services
              Corporation
     17       AMERICAN              7100-000       $5,000.00     $5,000.00    $5,000.00     $18.10
              EXPRESS
              CENTURION
              BANK
     18       Kensium LLC           7100-000      $83,789.13    $89,103.37   $89,103.37    $322.49
     19       Southwestern          7100-000        $655.30       $655.30      $655.30       $2.37
              Bell Telephone
              Company
     20       DLS Discovery,        7100-000       $2,639.57   $182,142.12        $0.00      $0.00
              LLC
     21       DTI                   7100-000      $18,776.47    $19,556.47   $19,556.47     $70.78
              American              7100-000       $2,475.15         $0.00        $0.00      $0.00
              Business Machine
              AT&T                  7100-000        $507.07          $0.00        $0.00      $0.00
              Clean-All Jan.        7100-000        $940.00          $0.00        $0.00      $0.00
              SVC
              Dell Financial        7100-000       $7,241.47         $0.00        $0.00      $0.00
              Services - 461-
              001
              Dell Financial        7100-000       $7,970.99         $0.00        $0.00      $0.00
              Services - 461-

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              003
              Dell Financial     7100-000    $18,334.86         $0.00         $0.00     $0.00
              Services - 932-
              000
              Dell Financial     7100-000     $3,889.86         $0.00         $0.00     $0.00
              Services - 975
              Digital Legal      7100-000     $1,124.00         $0.00         $0.00     $0.00
              Services-New
              Orleans
              DLS-Orlando        7100-000       $53.69          $0.00         $0.00     $0.00
              Hudson Energy      7100-000     $2,763.19         $0.00         $0.00     $0.00
              Services
              kCura              7100-000    $26,000.00         $0.00         $0.00     $0.00
              Morris J. Cohen    7100-000     $5,230.00         $0.00         $0.00     $0.00
              & Co., P.C.
              ShredTex           7100-000     $1,493.00         $0.00         $0.00     $0.00
              Sierra Springs     7100-000      $108.26          $0.00         $0.00     $0.00
              Sprint 958856718   7100-000      $897.31          $0.00         $0.00     $0.00
              Sprint 965462234   7100-000     $1,066.91         $0.00         $0.00     $0.00
              The Compliance     7100-000       $51.00          $0.00         $0.00     $0.00
              Office
              The Noble Group    7100-000     $2,500.00         $0.00         $0.00     $0.00
              TowerStream        7100-000      $757.75          $0.00         $0.00     $0.00
              Corporation
              Verity Group       7100-000     $3,664.50         $0.00         $0.00     $0.00
              Wells Fargo        7100-000     $5,857.70         $0.00         $0.00     $0.00
              Financial
              WGH Post Oak       7100-000    $14,936.36         $0.00         $0.00     $0.00
              LLC
              Wilmington Trust   7100-000     $1,254.80         $0.00         $0.00     $0.00
              Company
TOTAL GENERAL UNSECURED CLAIMS              $323,212.72   $442,474.57   $260,332.45   $942.23




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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                    Page No:    1              Exhibit 8
                                                                                             ASSET CASES

Case No.:                     15-30944-H4-7                                                                                                                   Trustee Name:                                   Allison D. Byman
Case Name:                    DIGITAL LEGAL SERVICES - TX, LLC                                                                                                Date Filed (f) or Converted (c):                02/18/2015 (f)
For the Period Ending:        5/9/2018                                                                                                                        §341(a) Meeting Date:                           03/23/2015
                                                                                                                                                              Claims Bar Date:                                06/26/2015

                                  1                                               2                               3                                  4                            5                                          6

                         Asset Description                                      Petition/                 Estimated Net Value                    Property                     Sales/Funds               Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled                (Value Determined by                    Abandoned                    Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                          Trustee,                   OA =§ 554(a) abandon.               the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 Ref. #
1       Checking Account (Amegy Bank ending in 5268)                                  $3,500.00                             $3,500.00                                             $30,169.40                                             FA
2      Security Deposit held by landlord (WGH Post                                 $10,885.00                              $10,885.00                                                   $0.00                                            FA
       Oak, LLC)
Asset Notes:     Will abandon pursuant 554(c) as burdensome to the Estate
3      Account Receivables - $531,174.56 per Ledger                         $258,340.95                             $258,340.95                                          $162,153.50                                                     FA
       ($272,833.61 deemed uncollectible)
Asset Notes:    Pursuant to agreement with secured creditor, M & T Bank, Trustee collected receivables and was allowed to retain 16% of collections (see 05/11/15; #25; page 4)
4      Proprietary client data developed through                                         $0.00                                    $0.00                                                 $0.00                                            FA
       Preferred Services Agreement
Asset Notes:     05/11/15; #25 (page 3) see abandonment language
5       Machinery, fixtures, equipment                                             $35,805.00                              $35,805.00                                             $17,775.00                                             FA
Asset Notes:      05/11/15; #25; Judgment (Allowing for the Sale of Assets)


                  06/17/15; #31; Trustee's Report of Sale
6      Digital Legal Medical Services Contract (subject                          $39,600.00                                     $0.00                                                   $0.00                                            FA
       to potential offsets for payment of post-sale
       operating costs)
Asset Notes:      Will abandon pursuant to 554(c) as burdensome to the Estate as upon further investigation by the Trustee, it was determined that this asset has no value.
7       Refund; United States Treasury (941 Taxes)                 (u)                Unknown                                     $0.00                                            $3,898.86                                             FA
8       Refund; Aflac                                              (u)                Unknown                                     $0.00                                               $176.04                                            FA
9       Software License Agreement (kCura Relativity)              (u)                Unknown                                     $0.00                                                 $0.00                                            FA
Asset Notes:      Will abandon pursuant to 554(c) as burdensome to the Estate; upon further investigation by the Trustee, it has been determined that this asset has no value.
10     Compromise; American Express; Chase Bank              (u)                $0.00                            $5,000.00                                                         $5,000.00                                             FA
       and kCura, LLC
Asset Notes:    06/11/15; #29; Order Granting Motion to Compromise with American Express, Chase Bank and kCura, LLC
10      VOID                                                                             $0.00                                    $0.00                                                 $0.00                                            FA
10      VOID                                                                             $0.00                                    $0.00                                                 $0.00                                            FA
10      VOID                                                                             $0.00                                    $0.00                                                 $0.00                                            FA
11      Refund; Overpayment in Texas unemployment                  (u)                   $0.00                                $331.30                                              $2,312.19                                             FA
        dated 5/20/15
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page No:    2              Exhibit 8
                                                                                          ASSET CASES

Case No.:                   15-30944-H4-7                                                                                                                Trustee Name:                               Allison D. Byman
Case Name:                  DIGITAL LEGAL SERVICES - TX, LLC                                                                                             Date Filed (f) or Converted (c):            02/18/2015 (f)
For the Period Ending:      5/9/2018                                                                                                                     §341(a) Meeting Date:                       03/23/2015
                                                                                                                                                         Claims Bar Date:                            06/26/2015

                                1                                              2                               3                                 4                        5                                         6

                        Asset Description                                   Petition/                   Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                   Unscheduled                  (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

12     Compromise; American Express, Chase Bank                (u)                $0.00                              $0.00                                                $5,000.00                                             FA
       and kCura, LLC
Asset Notes:    06/11/15; #29; Order Granting Trustee's Motion to Compromise with American Express, Chase Bank and kCura, LLC
13     Compromise; American Express, Chase Bank                (u)                $0.00                              $0.00                                                $5,700.00                                             FA
       and kCura, LLC
Asset Notes:    06/11/15; #29; Order Granting Trustee's Motion to Compromise with American Express, Chase Bank and kCura, LLC
14     Compromise; Digital Legal Medical Records,            (u)               $0.00                           $39,600.00                                                $30,000.00                                             FA
       LLC
Asset Notes:  08/11/15; #33; Order Granting Trustee's Motion to Approve Compromise with Digital Legal Medical Records, LLC
15     Repayment; Destruction of client records (see             (u)               Unknown                                      $0.00                                     $2,527.50                                             FA
       Judgment at 05/11/15; #25)
Asset Notes:    05/11/15; #25; Judgment
16      Repayment; Texas Unemployment tax dated                  (u)                  $0.00                                 $35.96                                            $35.96                                            FA
        2/2/16
17     Compromise; Mercury Information Systems,              (u)           Unknown                            $23,139.87                                          $2,500.00                                                     FA
       LLC
Asset Notes:  09/25/15; #37; Order Granting Trustee's Motion to Approve Compromise With Mercury Information Systems, LLC; will abandon the remaining balance of the compromise as "uncollectible".
18      Refund for 2014 Personal Property Taxes                  (u)                  $0.00                              $1,406.59                                        $1,406.59                                             FA


TOTALS (Excluding unknown value)                                                                                                                                                                   Gross Value of Remaining Assets
                                                                               $348,130.95                            $378,044.67                                       $268,655.04                                        $0.00




     Major Activities affecting case closing:
      09/30/2016     Claim objection process ongoing; Accountant for Trustee to file first/final fee application; case not closeable.
      09/30/2015     Receivable collection and Chapter 5 causes of action pursuit ongoing by Attorney for Trustee; carve out with M&T Bank in effect; payments due to M&T periodically.


Initial Projected Date Of Final Report (TFR):          12/31/2016                             Current Projected Date Of Final Report (TFR):          03/31/2017               /s/ ALLISON D. BYMAN
                                                                                                                                                                              ALLISON D. BYMAN
                                                        Case 15-30944 Document 82 Filed
                                                                                   FORM in TXSB
                                                                                           2    on 05/16/18 Page 10 of 15                          Page No: 1                 Exhibit 9
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-30944-H4-7                                                                  Trustee Name:                           Allison D. Byman
 Case Name:                        DIGITAL LEGAL SERVICES - TX, LLC                                               Bank Name:                              GREEN BANK
Primary Taxpayer ID #:             **-***9922                                                                     Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                          Account Title:
For Period Beginning:              2/18/2015                                                                      Blanket bond (per case limit):          $62,600,000.00
For Period Ending:                 5/9/2018                                                                       Separate bond (if applicable):

       1                2                                  3                                            4                               5                       6                     7

   Transaction       Check /                            Paid to/                Description of Transaction         Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                         Received From                                                Tran Code            $                     $


03/13/2015            (3)      Kasowitz Benson Torres & Friedman, LLP    Proceeds; A/R                             1121-000          $42,540.41                                       $42,540.41
03/13/2015            (3)      Kasowitz Benson Torres & Friedman, LLP    Proceeds; A/R                             1121-000          $13,502.52                                       $56,042.93
03/13/2015            (3)      Anadarko Petroleum Corporation            Proceeds; A/R                             1121-000           $1,724.10                                       $57,767.03
03/13/2015            (3)      Greer Herz & Adams, LLP                   Proceeds; A/R                             1121-000             $333.95                                       $58,100.98
03/13/2015            (3)      Katten Muchin Rosenman, LLP               Proceeds; A/R                             1121-000          $18,228.03                                       $76,329.01
03/13/2015            (3)      Katten Muchin Rosenman, LLP               Proceeds; A/R                             1121-000           $5,891.50                                       $82,220.51
03/13/2015            (3)      McKenzie Rhody & Hearn, LLC               Proceeds; A/R                             1121-000             $119.29                                       $82,339.80
03/13/2015            (3)      Digital Legal Services                    Proceeds; A/R                             1121-000              $91.98                                       $82,431.78
03/13/2015            (3)      Digital Legal Services                    Proceeds; A/R                             1121-000           $1,723.29                                       $84,155.07
03/13/2015            (3)      Anadarko Petroleum Corporation            Proceeds; A/R                             1121-000           $6,752.96                                       $90,908.03
03/13/2015            (3)      BP West Coast Products, LLC               Proceeds; A/R                             1121-000          $36,460.92                                      $127,368.95
03/13/2015            (7)      United States Treasury                    Proceeds; Refund (941 Taxes)              1229-000           $3,898.86                                      $131,267.81
03/13/2015            (8)      Aflac                                     Proceeds; Refund (Insurance)              1229-000             $176.04                                      $131,443.85
03/27/2015            (3)      Anadarko Petroleum Corp.                  Proceeds; A/R                             1121-000              $78.74                                      $131,522.59
03/27/2015            (3)      Anadarko Petroleum Corp.                  Proceeds; A/R                             1121-000           $1,651.52                                      $133,174.11
03/27/2015            (3)      Anadarko Petroleum Corp                   Proceeds; A/R                             1121-000           $1,891.54                                      $135,065.65
03/27/2015            (3)      Kasowitz, Benson, Torres, and Friedman    Proceeds; A/R                             1121-000          $12,151.02                                      $147,216.67
                               LLP
03/31/2015                     Green Bank                                Bank Service Fee                          2600-000                                         $111.11          $147,105.56
04/22/2015            (3)      Katten Michin Rosenman LLP                Proceeds; A/R                             1121-000           $1,125.80                                      $148,231.36
04/22/2015            (3)      Kasowitz, Benson, Torres & Friedman LLP   Proceeds; A/R                             1121-000           $1,285.47                                      $149,516.83
04/22/2015            (3)      Baxter International Inc.                 Proceeds; A/R                             1121-000             $983.50                                      $150,500.33
04/30/2015                     Green Bank                                Bank Service Fee                          2600-000                                         $231.14          $150,269.19
05/29/2015                     Green Bank                                Bank Service Fee                          2600-000                                         $242.48          $150,026.71
06/01/2015            (1)      Amegy Bank                                Proceeds; Close out account               1129-000          $30,169.40                                      $180,196.11
06/02/2015            (3)      Creely Law Firm                           Proceeds; A/R                             1121-000           $8,248.48                                      $188,444.59
06/02/2015            (3)      Creely Law Firm                           Proceeds; A/R                             1121-000             $583.85                                      $189,028.44
06/02/2015            (3)      Katten Muchin Rosenman LLP                Proceeds; A/R                             1121-000           $1,389.59                                      $190,418.03

                                                                                                                  SUBTOTALS          $191,002.76                    $584.73
                                                        Case 15-30944 Document 82 Filed
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           15-30944-H4-7                                                                                        Trustee Name:                           Allison D. Byman
 Case Name:                         DIGITAL LEGAL SERVICES - TX, LLC                                                                     Bank Name:                              GREEN BANK
Primary Taxpayer ID #:              **-***9922                                                                                           Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:
For Period Beginning:               2/18/2015                                                                                            Blanket bond (per case limit):          $62,600,000.00
For Period Ending:                  5/9/2018                                                                                             Separate bond (if applicable):

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   Transaction       Check /                             Paid to/             Description of Transaction                                  Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                          Received From                                                                      Tran Code            $                     $


06/02/2015            (3)      Baxter International                    Proceeds; A/R; Payee to issue STOP PAYMENT on this                 1121-000            $983.50                                         $191,401.53
                                                                       check and reissue a new check
06/02/2015            (3)      DEP REVERSE: Baxter International       Proceeds; A/R; Payee to issue STOP PAYMENT on this                 1121-000           ($983.50)                                        $190,418.03
                                                                       check and reissue a new check
06/02/2015           3001      M & T Bank                              05/11/15; #25                                                      4110-000                                     $149,617.98             $40,800.05
06/03/2015            (3)      BP                                      Proceeds; A/R                                                      1121-000            $256.13                                          $41,056.18
06/10/2015            (3)      Beers Law Firm                          Proceeds; A/R                                                      1121-000            $211.09                                          $41,267.27
06/10/2015            (5)      Webster's Auction Palace, Inc.          05/11/15; #25                                                      1129-000          $17,775.00                                         $59,042.27
06/10/2015            (10)     American Express                        06/11/15; Order Granting Trustee's Motion to                       1241-000           $5,000.00                                         $64,042.27
                                                                       Compromise
06/10/2015            (11)     Texas Comptroller of Public Accounts    Proceeds; Refund                                                   1229-000            $331.30                                          $64,373.57
06/17/2015           3002      Webster's Auction Palace                05/11/15; #25                                                         *                                             $4,066.25           $60,307.32
                                                                       Auctioneer for Trustee Fees                         $(2,666.25)    3610-000                                                             $60,307.32
                                                                       Auctioneer for Trustee Expenses                     $(1,400.00)    3610-000                                                             $60,307.32
06/26/2015            (3)      Ellison & Keller, P.C.                  Proceeds; A/R                                                      1121-000           $1,217.81                                         $61,525.13
06/30/2015                     Green Bank                              Bank Service Fee                                                   2600-000                                          $154.45            $61,370.68
06/30/2015           3003      Harris County et al                     05/11/15; #25; Final Distribution; Claim No. 1                     4210-000                                         $2,704.24           $58,666.44
07/06/2015            (12)     kCura LLC                               06/11/15; #29; Order Granting Motion to Compromise                 1241-000           $5,000.00                                         $63,666.44
07/06/2015            (13)     JP Morgan Chase Bank                    06/11/15; #29; Order Granting Motion to Compromise                 1241-000           $5,700.00                                         $69,366.44
07/30/2015           3004      Iron Mountain                           05/11/15; #25                                                      2990-000                                         $1,027.50           $68,338.94
07/31/2015                     Green Bank                              Bank Service Fee                                                   2600-000                                          $116.80            $68,222.14
08/11/2015            (3)      Creely Law Firm                         Proceeds; A/R                                                      1121-000           $1,743.01                                         $69,965.15
08/20/2015            (14)     Digital Legal Medical Records, LLC      08/11/15; #33; Order Granting Trustee's Motion to                  1149-000          $30,000.00                                         $99,965.15
                                                                       Approve Compromise with Digital Legal Medical
                                                                       Records, LLC
08/31/2015                     Green Bank                              Bank Service Fee                                                   2600-000                                          $113.99            $99,851.16
09/01/2015            (3)      Baxalta Inc.                            Proceeds; A/R                                                      1121-000           $1,967.00                                        $101,818.16
09/09/2015            (15)     Conoco Phillips                         05/11/15; #25                                                      1229-000           $2,527.50                                        $104,345.66
09/30/2015                     Green Bank                              Bank Service Fee                                                   2600-000                                          $161.66           $104,184.00

                                                                                                                                         SUBTOTALS          $71,728.84             $157,962.87
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-30944-H4-7                                                                             Trustee Name:                           Allison D. Byman
 Case Name:                        DIGITAL LEGAL SERVICES - TX, LLC                                                          Bank Name:                              GREEN BANK
Primary Taxpayer ID #:             **-***9922                                                                                Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:              2/18/2015                                                                                 Blanket bond (per case limit):          $62,600,000.00
For Period Ending:                 5/9/2018                                                                                  Separate bond (if applicable):

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   Transaction       Check /                            Paid to/             Description of Transaction                       Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                         Received From                                                           Tran Code            $                     $


10/26/2015           3005      International Sureties, Ltd.           Blanket Bond Premium                                    2300-000                                           $42.32           $104,141.68
10/28/2015           3006      M & T Bank                             05/11/25; #25                                           4110-000                                         $9,638.75           $94,502.93
10/30/2015                     Green Bank                             Bank Service Fee                                        2600-000                                          $173.53            $94,329.40
11/30/2015                     Green Bank                             Bank Service Fee                                        2600-000                                          $144.40            $94,185.00
12/31/2015                     Green Bank                             Bank Service Fee                                        2600-000                                          $151.98            $94,033.02
01/29/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $151.74            $93,881.28
02/23/2016            (17)     Mercury Information Systems            09/25/15; #37                                           1241-000          $2,500.00                                          $96,381.28
02/29/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $142.50            $96,238.78
03/31/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $155.30            $96,083.48
04/27/2016            (16)     Texas Comptroller of Public Accounts   Refund; repayment of unemployment tax                   1229-000             $35.96                                          $96,119.44
04/29/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $155.05            $95,964.39
05/31/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $149.86            $95,814.53
06/30/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $149.62            $95,664.91
07/20/2016           3007      M & T Bank                             05/11/15; #25                                           4110-000                                         $2,100.00           $93,564.91
07/26/2016           3008      Harris County et al                    07/25/16; #41                                           4210-000                                         $2,778.12           $90,786.79
07/29/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $154.37            $90,632.42
08/31/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $147.41            $90,485.01
09/30/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $150.72            $90,334.29
10/06/2016           3009      International Sureties, Ltd.           Bond #016071777                                         2300-000                                           $27.20            $90,307.09
10/31/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $136.35            $90,170.74
11/29/2016           3010      Ross Banks May Cron & Cavin, PC        11/18/16; #53                                              *                                         $36,671.83              $53,498.91
                                                                      Attorney for Trustee Fees               $(34,530.00)    3210-000                                                             $53,498.91
                                                                      Attorney for Trustee Expenses            $(2,141.83)    3220-000                                                             $53,498.91
11/30/2016                     Green Bank                             Bank Service Fee                                        2600-000                                          $138.90            $53,360.01
12/30/2016                     Green Bank                             Bank Service Fee                                        2600-000                                           $86.10            $53,273.91
01/31/2017                     Green Bank                             Bank Service Fee                                        2600-000                                           $85.96            $53,187.95
02/28/2017                     Green Bank                             Bank Service Fee                                        2600-000                                           $77.52            $53,110.43



                                                                                                                             SUBTOTALS           $2,535.96                 $53,609.53
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                                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-30944-H4-7                                                                                            Trustee Name:                           Allison D. Byman
 Case Name:                        DIGITAL LEGAL SERVICES - TX, LLC                                                                         Bank Name:                              GREEN BANK
Primary Taxpayer ID #:             **-***9922                                                                                               Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:
For Period Beginning:              2/18/2015                                                                                                Blanket bond (per case limit):          $62,600,000.00
For Period Ending:                 5/9/2018                                                                                                 Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                       Description of Transaction                             Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                                           Tran Code            $                     $


05/08/2017           3011      KenWood & Associates, PC                       05/05/17; #62                                                     *                                         $15,628.63              $37,481.80
                                                                              Accountant for Trustee Fees                    $(15,430.50)    3410-000                                                             $37,481.80
                                                                              Accountant for Trustee Expenses                  $(198.13)     3420-000                                                             $37,481.80
06/20/2017            (18)     Ann Bennett, Tax Assessor Collector            Year 2014 Refund for personal property taxes                   1229-000          $1,406.59                                          $38,888.39
08/24/2017            (11)     Texas Comptroller of Public Accounts           Refund for overpayment of UP                                   1229-000          $1,980.89                                          $40,869.28
10/19/2017                     Internal Revenue Service                       Interim Distribution on Claim #: ;                             5300-000                                         $1,696.80           $39,172.48
10/19/2017                     Internal Revenue Service                       Interim Distribution on Claim #: ;                             5800-000                                          $392.67            $38,779.81
10/19/2017           3012      Allison D. Byman                               Trustee Compensation                                           2100-000                                     $16,682.75              $22,097.06
10/19/2017           3013      Allison D. Byman                               Trustee Expenses                                               2200-000                                          $862.88            $21,234.18
10/19/2017           3014      Internal Revenue Service                       Final Distribution; Claim No. 3A                               5800-000                                         $5,720.18           $15,514.00
10/19/2017           3015      Keedra Oscar                                   Final Distribution; Claim No. 5                                5300-000                                         $1,670.64           $13,843.36
10/19/2017           3015      VOID: Keedra Oscar                                                                                            5300-003                                     ($1,670.64)             $15,514.00
10/19/2017           3016      Oscar Keedra                                   Final Distribution; Claim No. 6                                5300-000                                         $1,392.19           $14,121.81
10/19/2017           3016      VOID: Oscar Keedra                                                                                            5300-003                                     ($1,392.19)             $15,514.00
10/19/2017           3017      Comptroller of Public Accounts                 Final Distribution; Claim No. 23                               5800-000                                         $4,806.95           $10,707.05
10/19/2017           3018      Comptroller of Public Accounts                 Final Distribution; Claim No. 24                               5800-000                                         $6,573.48               $4,133.57
10/19/2017           3019      Internal Revenue Service                       Prorata Distribution; Claim No. 3A                             7100-000                                            $8.14                $4,125.43
10/19/2017           3020      Pitney Bowes Inc                               Prorata Distribution; Claim No. 4                              7100-000                                            $9.82                $4,115.61
10/19/2017           3021      Integrity Legal Corp of LB                     Prorata Distribution; Claim No. 7                              7100-000                                           $53.93                $4,061.68
10/19/2017           3022      DS Services/Sparketts Div                      Prorata Distribution; Claim No. 8                              7100-000                                            $2.58                $4,059.10
10/19/2017           3023      Integrity Legal Corp. OC                       Prorata Distribution; Claim No. 9                              7100-000                                           $10.71                $4,048.39
10/19/2017           3024      A&A Graphics Inc.                              Prorata Distribution; Claim No. 10                             7100-000                                            $2.01                $4,046.38
10/19/2017           3025      A+A Graphics Supply Corporation                Prorata Distribution; Claim No. 11                             7100-000                                            $1.20                $4,045.18
10/19/2017           3026      Integrity Legal Corp. of San Fernando Valley   Prorata Distribution; Claim No. 12                             7100-000                                            $9.75                $4,035.43
10/19/2017           3027      Canon Financial Services Inc                   Prorata Distribution; Claim No. 13                             7100-000                                          $128.81                $3,906.62
10/19/2017           3028      Advanced Discovery Inc                         Prorata Distribution; Claim No. 14                             7100-000                                          $242.31                $3,664.31
10/19/2017           3029      Michael A. Bonventure                          Prorata Distribution; Claim No. 15                             7100-000                                           $18.93                $3,645.38
10/19/2017           3030      GreatAmerica Financial Services Corporation    Prorata Distribution; Claim No. 16                             7100-000                                           $40.30                $3,605.08

                                                                                                                                            SUBTOTALS           $3,387.48                 $52,892.83
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                            15-30944-H4-7                                                                                            Trustee Name:                           Allison D. Byman
 Case Name:                          DIGITAL LEGAL SERVICES - TX, LLC                                                                         Bank Name:                              GREEN BANK
Primary Taxpayer ID #:               **-***9922                                                                                               Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                                                      Account Title:
For Period Beginning:                2/18/2015                                                                                                Blanket bond (per case limit):          $62,600,000.00
For Period Ending:                   5/9/2018                                                                                                 Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                  Description of Transaction                                     Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                                                              Tran Code            $                     $


10/19/2017           3031      AMERICAN EXPRESS CENTURION               Prorata Distribution; Claim No. 17                                     7100-000                                           $18.10                $3,586.98
                               BANK
10/19/2017           3032      Kensium LLC                              Prorata Distribution; Claim No. 18                                     7100-000                                          $322.49                $3,264.49
10/19/2017           3033      Southwestern Bell Telephone Company      Prorata Distribution; Claim No. 19                                     7100-000                                            $2.37                $3,262.12
10/19/2017           3034      DTI                                      Prorata Distribution; Claim No. 21                                     7100-000                                           $70.78                $3,191.34
10/19/2017           3035      Texas Workforce Commission               Check stale dated 10/19/17                                             5800-003                                          $128.51                $3,062.83
10/19/2017           3036      Keedra Oscar                             Interim Distribution on Claim #: 5;                                    5300-000                                         $1,670.64               $1,392.19
10/19/2017           3037      Earl Lair III                            Interim Distribution on Claim #: 6;                                    5300-000                                         $1,392.19                  $0.00
01/23/2018           3035      STOP PAYMENT: Texas Workforce            Interim Distribution on Claim #: ;                                     5800-004                                         ($128.51)                $128.51
                               Commission
01/23/2018           3038      Texas Workforce Commission               Form C-3                                                               5800-000                                          $128.51                   $0.00
03/19/2018           3032      STOP PAYMENT: Kensium LLC                Prorata Distribution; Claim No. 18 (Stale Dated)                       7100-004                                         ($322.49)                $322.49
04/11/2018           3039      Clerk, U.S. Bankruptcy Court             04/18/18; #80                                                          7100-000                                          $322.49                   $0.00

                                                                                           TOTALS:                                                               $268,655.04            $268,655.04                        $0.00
                                                                                               Less: Bank transfers/CDs                                                $0.00                  $0.00
                                                                                           Subtotal                                                              $268,655.04            $268,655.04
                                                                                               Less: Payments to debtors                                               $0.00                  $0.00
                                                                                           Net                                                                   $268,655.04            $268,655.04



                     For the period of 2/18/2015 to 5/9/2018                                                               For the entire history of the account between 03/13/2015 to 5/9/2018

                     Total Compensable Receipts:                        $268,655.04                                        Total Compensable Receipts:                                 $268,655.04
                     Total Non-Compensable Receipts:                          $0.00                                        Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                      $268,655.04                                        Total Comp/Non Comp Receipts:                               $268,655.04
                     Total Internal/Transfer Receipts:                        $0.00                                        Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                   $268,655.04                                        Total Compensable Disbursements:                           $268,655.04
                     Total Non-Compensable Disbursements:                     $0.00                                        Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                 $268,655.04                                        Total Comp/Non Comp Disbursements:                         $268,655.04
                     Total Internal/Transfer Disbursements:                   $0.00                                        Total Internal/Transfer Disbursements:                           $0.00
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-30944-H4-7                                                                             Trustee Name:                           Allison D. Byman
Case Name:                       DIGITAL LEGAL SERVICES - TX, LLC                                                          Bank Name:                              GREEN BANK
Primary Taxpayer ID #:           **-***9922                                                                                Checking Acct #:                        ******4401
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:            2/18/2015                                                                                 Blanket bond (per case limit):          $62,600,000.00
For Period Ending:               5/9/2018                                                                                  Separate bond (if applicable):

      1                 2                                3                                         4                                             5                       6                    7

  Transaction        Check /                         Paid to/              Description of Transaction                       Uniform           Deposit            Disbursement              Balance
     Date             Ref. #                      Received From                                                            Tran Code            $                     $




                                                                                                                                                                              NET            ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE           BALANCES

                                                                                                                                            $268,655.04             $268,655.04                      $0.00




                     For the period of 2/18/2015 to 5/9/2018                                            For the entire history of the case between 02/18/2015 to 5/9/2018

                     Total Compensable Receipts:                    $268,655.04                         Total Compensable Receipts:                                 $268,655.04
                     Total Non-Compensable Receipts:                      $0.00                         Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $268,655.04                         Total Comp/Non Comp Receipts:                               $268,655.04
                     Total Internal/Transfer Receipts:                    $0.00                         Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:               $268,655.04                         Total Compensable Disbursements:                            $268,655.04
                     Total Non-Compensable Disbursements:                 $0.00                         Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:             $268,655.04                         Total Comp/Non Comp Disbursements:                          $268,655.04
                     Total Internal/Transfer Disbursements:               $0.00                         Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                        /s/ ALLISON D. BYMAN
                                                                                                                        ALLISON D. BYMAN
